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 Attorneys for Defendant Blake McDougal


                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CENTRAL DISVISION


  KATE GRANT and KARMANN KASTEN,
  LLC,                                                   NOTICE OF APPEARANCE OF
                                                                 COUNSEL
         Plaintiff,
  v.                                                               (Colby Tinney)

  KEVIN LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                         Case No. 2:23-cv-00936-AMA-CMR
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,                           District Judge Ann Marie McIff Allen

         Defendants.                                    Magistrate Judge Cecilia M. Romero



        PLEASE TAKE NOTICE that the undersigned Colby Tinney of the firm Mitchell

 Barlow & Mansfield, P.C. hereby enters his appearance as counsel for Defendant Blake

 McDougal in the above-captioned lawsuit. All further notice and copies of pleadings, papers,

 and other material relevant to this action should be directed to and served upon:




                                                 1
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                                      of 3




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      DATED this 18th day of October 2024.

                                        MITCHELL BARLOW & MANSFIELD, P.C.

                                        /s/ Colby Tinney
                                        J. Ryan Mitchell
                                        Christopher A. Langston
                                        Colby Tinney
                                        Attorneys for Defendant Blake McDougal




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                                    CERTIFICATE OF SERVICE


           I hereby certify that on October 18, 2024, I caused a true and correct copy of the

 foregoing NOTICE OF APPEARANCE OF COUNSEL (Colby Tinney) to be filed via the

 Court’s electronic filing system, which automatically provides notice of the filing to counsel of

 record.

                                                 /s/ Colby Tinney




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